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                                                                                         1/2/2018 3:36 PM
                                                                                          Anne Lorentzen
                                                                                            District CleA
                                                                                     Nueces County, Texas


                               CAUSE NO. 2017 CCV 60993-4

MARTINENRIQUEZ,JR-,DANIEL                            §         IN THE COUNTY COURT
MARTINEZ, andIRENE GONZALEZ,                         §
individually andon behalfofMARTHA                    §
ENWQUEZ, SR. (deceased) and                          §
ANGELITAM. ENRJQUEZ(deceased)                        §
                                                     §
vs.                                                  §
                                                     §        AT LAWNO. 4
LASKOPRODUCTS,WC.;                                   §
AMERICANELECTRICPOWERSERVICE                         §
CORPORATION;LEGGETTANDPLATT,                         §
INCORPORATED; AND CARLOS HERNANDEZ §                          NUECES COUNTY, TEXAS

                PLAINTIFFS' FIRST AMENDED ORIGINAL PETITION

       NOW COMES MARTm ENRIQUEZ, JR., DANIEL MARTINEZ, and IRENE
GONZALEZ, individuaUy and as representatives ofthe estates ofMARTIN ENRIQUEZ,
SR.andANGELITAM. ENMQUEZ,bothdeceased(sometimes allcollectively referredtoas
"Plaintiffs"),andmakeandfilethisPlaintiffs'OriginalPetitioncomplainingofLaskoProducts,
Inc.. American Electric Power Service Corporation, Leggett and Platt, Inc., and Carios
Hemandez (sometimes herein after collectively referred to as"Defendants"), andin support of
this Plaintiffs' First Amended Original Petition would show unto this Honorable Court, as
follows:

                                         DISCOVERY

 1.    Plaintiffsbring these claims againstthe Defendants, andseek discovery in accordance
with the Texas Rules of Civil Procedure, Level 3. Upon request from any party for a trial
 setting, Plaintiffs hereby request that the parties be regarded as conducting discovery in
 accordance with the Texas Rules of Civil Procedure, Level 3, and that the Court enter a

 scheduling order for the management of this case.




                                                                                          EXHIBIT

                                                                                              A_
                                              II.
                                            PARTIES

2. 0   Plaintiff Martm Enriquez, Jr. is a United States citizen, and a legal resident ofthe State of

Texas. This PlaintifFs permanent residential address is 1054 Golden Gate Circle, Corpus

Christi, Nueces County, Texas 78416.

2. 1   PlaintiffDaniel Martinez is a United States citizen, and a legal resident of the State of

Texas. This PlaictifTs permanent residential address is 1637 Cambridge Drive, Corpus Christi,

Nueces County, Texas 78415.

2. 2   Plaintiff Irene Gonzalez is a United States citizen, and a legal resident of the State of

Texas. This Plaintiffs permanent residential address is 1040 Wisteria Trail, Austin, Travis

County, Texas 78753.

2. 3   Defendant Lasko Products, Inc. ("Lasko") is a foreign corporation authorized to and

doing business in the State of Texas. DefendantLasko may be served with citation and notice of

this pleading by serving its registered agent, Leonard F. Green, 4408 Spicewood Springs Road,

Austin, Texas 78759. Issuance of citation and service of process can be accomplished by

certified mail, return receipt requested, and in a manner that complies with the Texas Rules of

Civil Procedure.

2.4    Defendant American Electric Power Service Corporation ("AEP") is a foreign

corporation authorized to and doing business in the State of Texas. Defendant AEP may be

served with citation and notice of this pleading by serving its registered agent, CT Corporation

System, 1999 Bryan St, Ste. 900, Dallas, Texas 75201-3136. Issuance of citation and service of

process can be accomplished by certified mail, return receipt requested, and in a manner that

complies with the Texas Rules of Civil Procedure.
2.5    DefendantLeggettandPlatt,hicoiporated,("L&P")isa foreigncoiporationauthorizedto
anddoingbusiness intheStateofTexas. DefendantL&PmaybeservedwiAcitationandnotice
ofthis pleading by serving its registered agent, CT Coiporatioa System, 1999 Bryan St, Ste.
900,Dallas, Texas 75201-3136. Issuance ofcitation andservice ofprocess canbeaccomplished
bycertifiedmail,returnreceiptrequested, andina mannerfhatcomplies witfatheTexasRulesof
Civil Procedure.

2.6    Defendant Carlos Hemandez ("Hemandez") is a resident of Nueces County, Texas.
Defendant Hemandez resides at 3614 Cub Street, Corpus Christi, Texas 78405. Defendant
Hemandez maybeservedwithnotice ofthese legal proceedings andcitation at3614CubStreet,
Corpus Christi, Texas 78405. Service will be by private process server and in a manner
complyingwithAcTexasRulesofCivil Procedure. Serviceisrequested attfaistime.
                                        m.
                               VENUEand JURISDICTION

3.0     Venue is proper in Nueces County, Texas, pursuant to tfae Texas Civil Practices &
Remedies Code,Chapter 15. Plaintiffswouldshowthatall ora substantialpartoftheincident
occurred in Nueces County, Texas:

                                           rv.
                                         THE FIRE

 4.0    On or about January 3, 2016, at approximately 9:15 a.m., the Corpus Christi Fire
 Department received a report of a fire at 4402 Elvira Drive, Nueces County, Corpus Christi,
 Texas. The report of fire was received by 911 Metrocom. An alami was struck, and the
 followingunitesrespondedtothescene- BATT 1,BATT2,E10,E3,E8,E9,L7,F809,LA1,
 M 10. M623, M8, M9, and R3. The weather reported for the scene was 45 degrees Fahrenheit,
andthe windreported was from thenorthwest at approximately 10miles per hour(MPH). The
site on fire was the home ofMartin and AngelicaEnriquez.

4. 1    Upon arrival to the burning home, fu-efighters discovered heavy smoke fromtheburning
structure. Suppression operations were immediately begun. The fire wasquickly extinguished.-
The fire did not extend to adjoining or nearby homes. One of the elderly residents of tfae home
was burned to death by the fire (Mr. Martin Enriquez), and dead on scene. The second elderly
resident (Mrs. Enriquez) was mshed for emergency care, but ultimately succumbed to fire-
related injuries Ihat caused her death.

4.2     Martin Emiquez, Jr., Daniel Martinez, and Irene Gonzalez are the surviving children
whose parents suffered their horrific deaths by fire. Martin Enriquez, Jr., Daniel Martinez, and
Irene Gonzalez (Plaintiffs) now file to lawsuit seeking just and right compensation for the

untimely andviolent deaths sufferedby theirparents.
                                      V.
                       THE FIREDEPARTMENT'SmVESTIGATION

5.0     On or about January 3, 2016, at approximately 9:26 a.m., F509 received notification of
the fire from Metrocom and responded to the scene. Soon after their arrival (at approximately
9:52 a.m. ), an investigation and scene examination was initiated to determine the cause and
origin of the fatal fire. F509 was assisted in the investigation by F809, and-the Corpus Christi
Police Department The scene exammation concluded on January 3, 2016, at approximately
 12:53p.m.
 5. 1   External examination of the fu-e site revealed outside observable fire damage on one side

 of the elderly couple's home (the "A" side, per the Fire Investigation Profile Report); heat
 damage and discoloration ofthe siding on the front porch; no damage the opposite side ofthe
 borne (the "B" side, per the Fire mvestigation Profile Report); smoke and fire damage to the attic
vent opening (on the "C" side of the home); and heavy fire damage to a window and
melted/discolored siding on the home's remaining outside structure (the "D" side ofthe home,
pertheFireInvestigation Profile Report). The roofshowed firedamage abovetherearbedroom
where the fire had self-ventilated. An internal examination of the home was also conducted -

beginningwiththeareasofthehome thatwereleastdamagedandendingwiththeareasofthe
home that were damaged the heaviest. The examuiadon process revealed that the lowest and
most substantial area of the fire damages was located at the floor level on the left hand side of

the back bedroom. All'fire damage comes together at this point. There is a "V" shaped pattern
which is the characteristic indicator ofa fire's point of origin. The low bum area was examined

in closer detail by the assigned fire investigators. Located in this area were tfae remains of a
ceramic air heater " a ceramic wall heater now known to have been a Lasko Oscillating Ceramic

Tower Heater, model no. 5367 (sometimes referred to asthe"subject product or subjectproduct
1"). Thefire'spointoforiginwasprecisely in theareaofthesubjectproduct(asdeterminedby
investigators for the Corpus Christ; Fire Department inyestigators). In close proximatey to the
fire's point of origin, investigation also revealed a second electrical appliance (an electric bed
manufactured byDefendantL&P,andsometimes referredtoasthe"subjectproduct 2").
                                               VI.
                                         STRICT LIABIUTY

6.0     As statedherein above, the subject product is a LaskoOscillatmg Ceramic Tower Heater,
model no. 5367. Defendant Lasko was a maDufacturer' of the subject product - and thus liable

for its defects. Defendant Lasko is also liable for defects in the subject product as a non-




 ' DefendantLaskowasa manufacturerofthe subjectproduct- asthisterm is definedin Chapter82 oftheTexas
 Civil Practice & Remedies Code ("TCPRC") and/or by Texas law.
manufacturing seller. 2 The subject product was made in China, but believed to have been made
by a company beyond thejurisdictional reach ofthiscourt.
6. 1    Plaintiffs would showthat the subject product wasdefective anduiu-easonably dangerous

(asthese terms aredefmed inlaw). The subject product wasdefective in its design, manufacture,
and/ormarketing - anddefective at the time ofits design, manufacture, and/ormarketing. The
subject product was defective because it was a fu-e hazard, and because it was - in fact - the
hazard/danger that caused the fu-e made the subject of this lawsuit (and killed decedents). The
subject product was defective because of its use of mferior/substandard component parts that
allowed the subjectproduct to overheat andcatchfire. The subjectproduct's electrical cordwas
inferior (anddefective), andits heating element andadjacentcomponent partswere inferior (and
defective). There definitely were- atthetime ofsale ofthe subject product - saferalternative
designs that could havebeenutilized to make the subject product safe (but these saferalternative
designs were not implemented given Defendant's desire to market an airheater that was cheaper
to manufacture / import). The subject product's defects werethe producing causeofthe fire, and
the cause ofthe untimely deaths ofMartin Enriquez Sr. and Angelita Enriquez.

6.2.     Additionally, or alternatively, Plaintiffs would show that the subject product 2 was
defective andunreasonably dangerous (as these terms aredefined in law). The subject product 2
was defective in its design, manufacture, and/or marketing -- and defective at the time of its
design,manufacture, and/ormarketing. Thesubjectproduct2 wasdefectivebecauseitwasa fu-e
hazard, and because it was " in fact - an additional / alternative cause of the fire made the

 subjectofthislawsuit(andkilleddecedents). Thesubjectproduct2 wasdefectivebecauseofits
 use ofmferior/substandard component parts that allowed the subject product to catch fire. The
 subject product 2's electrical cord was inferior (and defective), component parts were mferior
 2 See TCPRC, section 82. 003.
(anddefective). Atthetimeofsaleofthesubjectproduct2,thereweresaferalternativedesigns
that could have been utilized to make the subject product 2 safe (but these safer alternative

designs were not implemented by DefendantL&G). The subject product 2's defects were the
producing cause, or alternatively the producmg cause, ofthe fire, andthe cause(or alternative
cause) ofthe untimely deaths ofMartin Enriquez Sr. and Angelita Enriquez.
6.3    Plaintiffs make all claims for product liability against Defendant Lasko and/or

DefendnaatL&G pursuant to theTexas Civil Practice& Remedies Code, Chapter 82. Plaintiffs
make all claims for product liability against Defendant Lasko and/or Defendant L&G as
supported by Texas common law. Plaintiffs make all claims for product liability against
Defendant Lasko and/or Defendant L&G asmay be allowed by the Restatement ofTorts - 2nd

and 3rd Editions.

                                       VII.
                          NEGLIGENCEOFDEFENDANTLASKO
                           NEGLIGENCE OF DEFENDANT L&G

7.0    Additionally, and/or alternatively, Plaintiffs would show that Defendant Lasko's and/or
Defendant L&G's acts and/or omissions relating to the subject product rise to the level of

negligence. DefendantLaskoandDefendantL&Gfailedto useadequatecomponents withthe
design and manufacture of tfae subject products, and/or failed to assure use of adequate
components with the design and manufacture of the subject products (by these two (2)
Defendants' failures to test, failures to assure testing, failures to do quality checks, failures to do

adequate quality checks, failures to audit, failures to qualify the subject product, failures to
identify and assure corrective action, failures to supervise, failures to monitor, failures to warn,
and/or failures to assure better design/manufacture through some review process). These two (2)
defendants' use of inferior / substandard components (and/or allowance of same) and/or re-sale
of the subject product with inferior / substandard components was a failure to use reasonable
care - and such failure(s) to use reasonable care on the part of the Defendant Lasko and/or
DefendantL&G constitutes negligence thatwasa proximate cause oftfae fire madethe subject of

this lawsuit (and all harm to decedents and all Plaintiffs). For all such negligent acts and/or
omissions. Plaintiffs now sue.

                                      Vffl.
                           NEGLIGENCE OF DEFENDANT AEP

8.0    Additionally, and/or alternatively. Plaintiffs would show that - before the fire began
there was an electrical power outage in the residential area ofthe home of Martin and Angelica

Enriquez. More specifically, there badbeenan electrical power outage in such residential area
prior to thefatal fire madethe subject ofthis lawsuit; andsuch electrical poweroutagehadbeen
repaired by Defendant AEPto allow thereturn ofall electrical power services just before the fire
began. PlaintifiEs would show that Defendant AEP failed to use reasonable care during their
process of bringing electrical power back on line for its residential customers m the area
(including Martin and Angelica Enriquez), and that such failure to use reasonable care on the
part of Defendant AEP constitutes negligence. Such negligent acts and/or omissions were a
proximate cause of the fu-e made the subject of this lawsuit (and all harm to.decedents and all
PlamtifFs). For all such negligent acts and/or emissions. Plaintiffs now sue.


                                      DC.
                      NEGLIGENCE OF DEFENDANT HERNANDEZ

9.0     Additionally, and/or alternatively. Plaintiffs would show that - before the fire began -

Defendant Hemandez was driving a 2005 Kia Spectra on Home Road, in Corpus Christi, Texas.
Defendant Hemandez lost control of his vehicle while driving upon Home Road, and ran off of

the roadway. Defendant Hemandez thenran into a pole supporting DefendantAEP's electrical
    power lines. Defendant Hemandez failed to use reasonable care by his failure to control the
    vehicle that he (Defendant Hemandez) was driving (and failed to use reasonable care in other
    particulars). Defendant Hemaadez's failure to use reasonable constitutes negligence, and such
    negligent acts and/or omissions were a cause ofthe electrical poweroutage thatoccurred at the
    home of Martin and Angelica Enriquez. Thus, Defendant Hemandez's negligent acts and/or

    omissions were a proximate cause of the fire made the subject of this lawsuit (and all harm to
    decedents andall Plaintiffs) - in the natural and contmuous sequence ofevents leading up to the
    fire made the subject ofthis lawsuit. Forall such negligent acts and/or omissions. Plaintiffs now

    sue.



                                              X.
                                         LEGALDAMAGES

    10.0    Plaintiffs would show that Plaintiffs are entitled to all legally compensable damages

.
    permitted pursuant to Texas law. The wrongful conduct of Defendants (as referred to herein
    above) was the producing cause and/or proximate cause of the injuries and legal damages
    suffered by Plaintiffs. Therefore, Plaintiffs seek compensation for all those legal damages due

    and owing to the Plaintiffs.

    10. 1   More specifically. Plaintiffs would show that the subject products' defects were a

    producing cause ofthe untimely deaths ofMartin Enriquez and Angelita M. Enriquez; and that
    the negligence ofDefendants wasa proximate causeofthe untimely deaths ofMartin Enriquez
    andAngelita M. Enriquez. 'The evidence will demonstrate thatMr. Enriquez waskilled by fire.
    Mr. Enriquez was found at the sliding back door near the back of the home. At the moment in
    time when he was found, Mr. Enriquez was unconscious, and absent pulse. Mr. Enriquez had
    bums to the facewith soot insidethe nose and mouth -- bums to the bead~ bums to the neck "
bums'to tfae chest - bums to the abdomen - and bums to the amis and legs. Mrs. Enriquezwas

found by the emergency response team sitting on the ground in front of the residence. On

information and belief, she had been trapped and screaming for her life when neighbors were

able to forcibly enter-the home andhelp remove her. Mrs. Emiquezwasconscious, and in pain

with bums to her face - bums to her upper and lower arms - and soot in her mouth and nose.

Mrs; Emiquez was immediately taken to Spohn Memorial Hospital, but later expired because of

her serious bum injuries.

8.2    For all relevant times past and future, all Plaintiffs seekjust and right compensation for

tfaeir pain and suffering, mental anguish, loss of physical capacity, and reimbursement for all

reasonable and necessary medical expenses incurred. Plaintiffs seek fair andjust compensation

for their loss of consortium, and burial and other expenses (again, past and future). Such legal

damages are within the jurisdictional limits of this Honorable Court, and for which these

Plaintiffsnow rightfully sue.

                                               DC.
                                             PRAYER

       WHEREFORE,PREMISESCONSIDERED,Plaintiffs pray that Defendants be cited to

appear andanswer, and that on final trial. Plaintiffs have the following:

1.      All actual and compensatory damages in sums to be determined by the trier of fact.

2.      Judgmentagainstthe Defendants.

3.      Prejudgmentinterest asprovidedby law.

4.      Exemplary damages, if and as pleaded. . .

5.      Post-judgmentinterest asprovidedby law.

6.      Costs of suit.

7.      Such other and further relief to which Plaintiffs may bejustly entitled.


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PLAINTIFFSDEMANDSA TRIAL BY JURY




             Respectfully submitted,
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